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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA                    2009SEP 16 A?llj:fl7
                                           STATESBORO DIVISION
                                                                                                   fl-tf

              JAMIL AL-AMIN,

                                   Plaintiff,

                    Im                                                CIVIL ACTION NO.: CV607-026

              HUGH SMITH; SANCHE JACKSON;
              JAMES E. DONALD, and STEPHEN
              UPTON,

                                   Defendants




                    After an independent and de novo review of the entire record, the undersigned

              concurs with the Magistrate Judge's Report and Recommendation, to which Objections

              have been filed. In their Objections, Defendants request that the Court decline to adopt

              the Magistrate Judge's recommendation that Al-Amin alleged Defendant Smith

              retaliated against him in Grievance Number 517-050952. Defendants assert that

              Plaintiff did not explicitly state in this grievance that Defendant Smith denied him

              visitation privileges due to retaliation or because Plaintiff had legal actions pending.

              Defendants also allege that Plaintiff has shown himself to be an intelligent and articulate

              person who could have clearly alleged retaliation in this grievance if he had wanted.

              (Doc. No, 90, p. 6, nI). Defendants contend that the Magistrate Judge abused his

              discretion to 'require Defendant Smith to address, as part of [Plaintiff's] visitation-

              retaliation claim, an unnamed visitor from Detroit when [Plaintiff] himself did not include

              this alleged November 2005 visitation in his three Complaints and his responses to two


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                   very specific interrogatories." (Id. at 7-8). Defendants assert that, even if Plaintiff had

                   alleged that Defendant Smith denied visitation to an unnamed visitor in November 2005,

                   it would still be difficult to address this claim because it would not satisfy the intent

                   behind and requirements of Federal Rule of Civil Procedure 8(a)(2). Defendants further

                   assert that the record proves that Defendant Smith used specific, non-retaliatory criteria

                   to determine which non-significant others could visit Plaintiff and that he did not deny

                   visitation privileges to any requested visitor based on a retaliatory motive. Defendants

                   aver that the Magistrate Judge erred by recommending that Defendant Smith is not

                   entitled to qualified immunity because, at worst, the evidence would show that he had a

                   mixed motive in denying Plaintiff's visitation in November 2005. Finally, Defendants

                   state that Plaintiff is precluded from recovering compensatory or punitive damages on

                   the sole remaining retaliation/visitation claim, as he has not set forth evidence

                   supporting his physical injury claim.

                          A fair reading of the Magistrate Judge's Report, in conjunction with the entire

                   record, indicates that the Magistrate Judge found that Plaintiff filed Grievance Number

                   XXX-XX-XXXX on November 25, 2005, and alleged that his visitation from the day before

                   was terminated based on Defendant Smith's orders and that he had legal actions

                   pending against Defendant Smith. These allegations are sufficient to establish that

                   Plaintiff contends that Defendant Smith terminated Plaintiffs visitation privileges based

                   on a retaliatory motive. Plaintiff then filed another grievance approximately two (2)

                   weeks later (Number XXX-XX-XXXX) in which he stated that Defendant Smith terminated

                   his visits with people who traveled from Detroit, Michigan. While it is true Plaintiff did

                   not name any particular visitor in either of these grievances and he did not allege in



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             Grievance Number XXX-XX-XXXX that Defendant Smith terminated his visitation based

             on a retaliatory motive, it appears that Plaintiff exhausted his administrative remedies

             based on his claim that Defendant Smith denied or terminated his visitation privileges

             on at least one occasion, but perhaps on as many as two occasions, out of retaliation.

             It also appears that the Magistrate Judge cited to Grievance Number XXX-XX-XXXX to

             illustrate his findings that Plaintiff exhausted his administrative remedies on this issue,

             The Court is not aware of a requirement for a plaintiff to be any more specific in his

             pleadings than to make the party against whom he brings claims aware of the claim(s)

             he has brought. See FED. R. Civ. R. 8(a)(2). In addition, Defendant Smith sets forth a

             new ground in his Objections that was not set forth in his Motion—that Plaintiff's

             retaliation/visitation claims do not meet the civil pleading requirements. Further, it

             appears that the Magistrate Judge recommended that Defendant Smith be denied

             summary judgment on the merits of Plaintiff's retaliation/visitation claim because there is

             no evidence in the record to support Defendant Smith's assertion that there are no

             genuine issues of material fact and that he is entitled to judgment as a matter of law.

             Finally, Defendant Smith is not entitled to qualified immunity on Plaintiff's

             retaliation/visitation claim, as noted in the Magistrate Judge's Report and

             Recommendation.

                    Defendants' contention that Plaintiff is precluded from recovering compensatory

             or punitive damages because he has not produced evidence supporting a physical

             injury claim is unavailing. The relevant statute provides: 'No Federal civil action may be

             brought by a prisoner confined in a jail, prison, or other correctional facility, for mental or

             emotional injury suffered while in custody without a prior showing of physical injury." 42



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                   U.S.C. § 1997e(e). This statute prohibits prisoners from seeking damages for mental or

                   emotional injury without a showing of a physical injury. This statute does not prevent a

                   prisoner from seeking compensatory or punitive damages for a wide range of alleged

                   constitutional violations, such as certain due process violations or First Amendment

                   violations which often do not result in any physical injury.

                          Plaintiff also filed Objections to the Magistrate Judge's Report and

                   Recommendation. In his Objections, Plaintiff asserts that there was no federal

                   administrative remedy available to him regarding his claim that he was improperly

                   transferred at the behest of Georgia state officials, and exhaustion should not be

                   required. According to Plaintiff, he had no administrative remedies available to him to

                   grieve about being transferred out of retaliation.

                          Plaintiff's Objections largely set forth the same allegations as are contained in his

                   Response to Defendants' Motion for Summary Judgment. The evidence before the

                   Court indicates that Plaintiff could have filed an Administrative Remedy Request after

                   his transfer to federal custody and alleged that he was transferred based on retaliation.

                   Plaintiff did not do so; nevertheless, Plaintiff did file an Administrative Remedy Request

                   in which he asserted he was transferred away from his family, and he sought a transfer

                   back to state custody or to a federal facility closer to his home. Plaintiff, once again,

                   does not show that the administrative remedy procedure was unavailable to him once

                   he was placed in federal custody or that he filed an administrative request grieving

                   about his transfer being made as a retaliatory measure.

                          The Magistrate Judge's Report and Recommendation is adopted as the opinion

                   of the Court. Defendants' Motion for Summary Judgment is GRANTED in part and



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              DENIED in part. Plaintiff's claims against Defendants Jackson, Donald, and Upton are

              DISMISSED. Plaintiff's claim that Defendant Smith retaliated against him by restricting

              his telephone privileges is DISMISSED. The portion of Defendants' Motion based on 18

              U.S.C. § 3626 is DISMISSED as moot. The portions of Defendants' Motion based on

              Plaintiff's claim that Defendant Smith retaliated against him by denying Plaintiff visitation

              privileges and Plaintiff's claim for monetary damages are DENIED. These are the only

              claims remaining.

                     SO ORDERED, this /ay of                                             , 2009.




                                                         ,jv

                                                         UNITED STATES DwRICT COURT
                                                         SOUTHERN DISTRICT OF GEORGIA




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